Case 3:17-cv-00072-NKM-JCH Document 57 Filed 11/01/17 Page 1lof2 Pageid#: 209
UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff
vs. Case No: 3:17CV00072

Jason Kessler, et al.

Defendant

AFFIDAVIT OF SERVICE

 

I, Ellen McGouen, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, and Plaintiffs'
Jury Demand in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this matter.

That on 10/23/2017 at 11:00 AM, I served Michael Hill a/k/a James Michael Hill with the Summons, Civil Cover Sheet with
Addendum, Complaint, and Plaintiffs’ Jury Demand at 146 Bridgewood Drive, Killen, Alabama 35645, by serving Michael Hill
a/k/a James Michael Hill, personally.

Michael Hill a/k/a James Michael Hill is described herein as:

Gender: Male Race/Skin: White Age: 65 Weight: 200 Height: 6'0" Hair: Gray Glasses: No

I do solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

 

H-25-(7 wo Cho, Jn Poorr

Executed On Ellen McGouen

 

Client Ref Number:N/A
Job #: 1534505

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

ELIZABETH SINES, SETH WISPELWEY, MARISSA
BLAIR, TYLER MAGILL, APRIL MUNIZ, HANNAH
PEARCE, MARCUS MARTIN, JOHN DOE, JANE

DOE 1, JANE DOE 2, and JANE DOE 3

 

Plaintiff(s)

v. Civil Action No. 3:17-cv-00072-NKM

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES ALEX
FIELDS, JR., VANGUARD AMERICA, ANDREW
ANGLIN, MOONBASE HOLDINGS, LLC, et al.

 

Nee Nee Nee Nee ee eee ee ee ee ee ee ee”

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael Hill a/k/a James Michael Hill
146 Bridgewood Drive
Killen, AL 35645

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Robert T. Cahill, Esq., Cooley LLP

11951 Freedom Drive, 14th Floor

Reston, VA 20190

Tel: (703) 456-8000 - Email: rcahill@cooley.com
Co-Counsel for Plaintiffs

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Kosi Joyce C, Jones
Deputy. Clerk
Date: October 18, 2017 puty

 

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